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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER SETTING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           In light of the Executive Order issued today, June 20, 2018, entitled “Affording
19    Congress an Opportunity to Address Family Separation,” a telephonic status conference
20    shall be held on June 22, 2018, at 12:00 p.m. Counsel for Defendants shall organize and
21    initiate the call to the Court.
22     Dated: June 20, 2018
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                                                                                18cv0428 DMS (MDD)
